                      IN THE UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF OHIO
                             EASTERN DIVISION AT AKRON


IN RE:                                            )    CASE NO. 17-50236
                                                  )
LOUIS ANTHONY TELERICO                            )    CHAPTER 7
                                                  )
                                                  )    JUDGE ALAN M. KOSCHIK
DEBTOR                                            )

                        TRUSTEE'S MOTION FOR AUTHORITY TO
                             COMPROMISE AND NOTICE

         Now comes Kathryn A. Belfance, Trustee (“Trustee”), and hereby respectfully moves

this Court, pursuant to Federal Rule of Bankruptcy Procedure 9019 for an order authorizing and

empowering Trustee to compromise the claim existing between the estate of the debtor, Louis

Anthony Telerico (“Debtor”) and Bank of America (“BOA”). Trustee recommends the proposed

compromise, as outlined herein, in order to avoid the uncertainties, cost and delay of further

litigation. In support of this Motion, Trustee states the following:

                                      Jurisdiction & Venue

         1.    This bankruptcy case was commenced on February 5, 2017, by the filing of a

voluntary petition under Chapter 11 of the Bankruptcy Code, such case being known on the

docket of this Court as Case No. 17-50236. Said case was converted to a Chapter 7 on April 18,

2019.

         2.    Kathryn A. Belfance is the duly appointed Chapter 7 Trustee in this bankruptcy

case.




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        3.      This Court has jurisdiction pursuant to 28 U.S.C. §1334 and the General Order of

reference entered in this District on April 4, 2012. Venue over this case and this matter is proper

pursuant to 28 U.S.C. §1408 and/or §1409 and this is a core proceeding pursuant to 28 U.S.C.

§157(b)(2).

        4.      On April 9, 2019, the Debtor filed a Motion to Surcharge Bank of America N.A.’s

Collateral (“Motion to Surcharge”) seeking a total of $256,076.53, for the reasonable, necessary

costs and expenses of preserving the real estate of the Debtor known as 545 Bristol Drive,

Aurora, OH 44202.

        5.      On June 28, 2019, BOA filed its Response in opposition to the Motion to

Surcharge.

        6.      The Trustee and BOA have agreed to settle the controversy by BOA paying the

Trustee, on behalf of the estate, the sum of One Hundred Fifty Thousand and 00/100 Dollars

($150,000.00) on or within thirty (30) days of the entry of an order approving the compromise,

which payment shall be in full satisfaction of the claims as stated in the aforesaid Motion to

Surcharge.

        7.      The Trustee believes that this compromise is reasonable, fair and equitable and in

the best interest of the estate and its creditors; and that the compromise, as set forth herein, does

not fall below the lowest level of reasonableness considering the uncertainty of litigation,

difficulties in proof and costs and fees of litigation.

        WHEREFORE, Trustee respectfully requests this Court enter an Order approving the

compromise without a hearing pursuant to Title 11 U.S.C. §102(1)(B)(i), unless a hearing is




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requested by a creditor or party in interest within twenty-one (21) days after notice hereof and for

any other and further relief as this Court deems just and proper.



                                                     Respectfully submitted,

                                                     /s/ KATHRYN A. BELFANCE
                                                     KATHRYN A. BELFANCE
                                                     Registration No. 0018035
                                                     Chapter 7 Trustee
                                                     50 S. Main Street, 10th Floor
                                                     Akron, Ohio 44308
                                                     (330) 434-3000 (Phone)
                                                     (330) 434-9220 (Fax)
                                                     kb@rlbllp.com




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                              CERTIFICATE OF SERVICE


      I hereby certify that on this 19th day of July 2019, a copy of the foregoing Trustee’s
Motion to Compromise & Notice was served as follows:

Via the Court’s Electronic Case Filing System on these entities and individuals who are listed on
the Court’s Electronic Mail Notice List:

Office of the U.S. Trustee
Susan J. Lax, at susan.lax@hotmail.com
Frederic P. Schwieg, at fschwieg@schwieglaw.com
Todd A. Atkinson, at tatkinson@ulmer.com
Philip Leonard Bednar, at philip.l.bednar@usdoj.gov
Bryan J. Farkas, at bjfarkas@vorys.com
Scott D. Fink, at ecfndoh@weltman.com
Stephen R. Franks, at amps@manleydeas.com
Bryan T. Kostura, at bkostura@mcglinchey.com
Allison Manayan, at amanayan@portageco.com
Michael J. Occhionero, at mjocolpa@sbcglobal.net
James W. Sandy, at jsandy@mcglinchey.com
Richard P. Schroeter, at rschroeter@amer-collect.com
David J. Sternberg, at djsternberg@ameritech.net
Joshua Ryan Vaughan, at jvaughan@amer-collect.com
Steven L. Wasserman, at swasserman@westonhurd.com
Maria D. Giannirakis, ust06 maria.d.giannirakis@usdoj.gov
Scott R. Belhorn, ust35 Scott.R.Belhorn@usdoj.gov
Kathryn A. Belfance, Trustee, at kb@rlbllp.com

And by regular U.S. mail, postage prepaid, on:

Louis Anthony Telerico, Debtor, P.O. Box 928, Aurora, OH 44202
Also served at 545 Bristol Dr., Aurora, OH 44202
Christopher J. Niekamp, 23 S. Main Street, Akron, OH 44308

All creditors on the Debtor’s creditor mailing matrix.




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           NOTICE OF TRUSTEE’S MOTION TO APPROVE COMPROMISE

      Kathryn A. Belfance, the Chapter 7 Trustee has filed papers with the court to approve a
compromise, a copy of which is attached.

       Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult one.)

       Parties in interest shall take notice that any party wishing to object to said motion
has twenty-one (21) days, or such other time fixed by the Federal Rules of Bankruptcy
Procedure or statute or as the Court may order, after service is filed and serve a response
or request for hearing. If no response or request for hearing is timely filed with the Court
and served upon counsel for the movant, the Court may grant the relief requested in the
motion without a hearing.

        If you do not want the court to approve the Motion without holding a hearing, or if you
want the court to consider you views on the Motion, then on or before August 9, 2019, you or
your attorney must:

               File with the court a written objection or response to:

                            Clerk, United States Bankruptcy Court
                                       2 South Main St.
                                     Akron, Ohio 44308

       If you mail your Objection to the court for filing, you must mail it early enough so the
Court will receive it on or before the date stated above.
You must also mail a copy to:

                              Kathryn A. Belfance, Esq.
                              Roderick Linton Belfance L.L.P.
                              50 S. Main Street, 10th Floor
                              Akron, Ohio 44308

        If you or your attorney do not take these steps, the court may decide that you do not
oppose the relief sought in the motion or objection and may enter an order granting that
relief without holding a hearing.

Date: July 19, 2019                          Signature:     /s/ Kathryn A. Belfance
                                             Name:          Kathryn A. Belfance, Esq.




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